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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                v.                                          Case No. 1:21-cr-175-TJK

JOSEPH BIGGS, et al.,
                Defendants.

      BIGGS MOTION TO JOIN REHL’S MOTION TO DISMISS INDICTMENT,
    IMPOSE EVIDENTIARY SANCTIONS AND CONDUCT EXPEDITED REVIEW

           These cases, together with earlier cases condemning the knowing use of
           perjured testimony, illustrate the special role played by the American prosecutor
           in the search for truth in criminal trials. Within the federal system, for example,
           we have said that the United States Attorney is "the representative not of an
           ordinary party to a controversy, but of a sovereignty whose obligation to govern
           impartially is as compelling as its obligation to govern at all; and whose interest,
           therefore, in a criminal prosecution is not that it shall win a case, but that justice shall
           be done." Berger v. United States, 295 U. S. 78, 88 (1935).

         ~ Justice Stevens, writing for the court in Strickler v. Greene, 527 U.S. 263, 281 (1999)


      Defendant Joseph Biggs, like his codefendants Nordean and Tarrio, moves to join Zachary Rehl’s
Motion to Dismiss Indictment (ECF 533) in all respects. Starting with Rehl’s motion on November 10 for
Brady violations, the parties, including the Government, have filed various related pleadings. Some are
sealed, some are partially sealed, some are on the open record. In addition to seeking joinder, Biggs notes
here on the open record that the Brady violations the parties continue to dispute -- beginning with the
dispute triggered by the Government’s late disclosure of a significant cache of Brady materials on August
13, 2021, or fifteen months ago -- consistently go to a structural feature in all three of the Department of
Justice’s superseding indictments in 21-cr-175. That feature and overarching issue is whether a Proud
Boy conspiracy plan to obstruct the Biden-Harris vote certification or to commit sedition ever existed or
could have existed. The Brady materials and discussions most at play now and since mid-2021 point up
the increasing doubtfulness and high unlikelihood of the existence of a conspiracy. That is troublesome,

and glaring. It continues to be the ‘elephant in the room’ of 21-cr-175.
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      Therefore, and for good cause shown, defendant Biggs asks that he be permitted to join

codefendant Zachary Rehl’s motion to dismiss (ECF 533) the indictment and for sanctions and

expedited review.


                                          Respectfully submitted,

                                          COUNSEL FOR JOSEPH R. BIGGS



Dated: November 14, 2022                   By: /s/ J. Daniel Hull
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                               CERTIFICATE OF SERVICE

      The undersigned certifies that on November 14, 2022, the foregoing Motion to Join was

served upon all counsel of record via the Electronic Case Filing (ECF) system.


                                            By: /s/ J. Daniel Hull
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